               Case 1:17-mj-00614-TCB Document 1 Filed 12/29/17 Page 1 of 1 PageID# 1

 AO 91 (Rev. 11/11) Criminal Complaint
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                                      United States District Cour'                                      •
                                                                   for the
                                                                                                                DEC 2 9 2ai7
                                                 Eastern District of Virginia
                                                                                                         CLERK, U.S. UlS IHICT COURT
                   United States of America                                                                ALEXANDRIA,
                                 V.

                                                                             Case No. 1:17-MJ-614
               JAVELL MARQUES JOHNSON




                           Defendant(s)


                                                    CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief
 On orabout the date(s) of               April 18, 2017 to July 5, 2017      in the county of           Prince William          inthe
       Eastern          District of              Virginia         , the defendant(s) violated:

             Code Section                                                       Offense Description
21 U.S.C.§§ 841(a)(1) 846                        Conspiracy to distribute one hundred (100) grams or more of a mixture and
                                                 substance containing a detectable amount of heroin, a Schedule I controlled
                                                 substance, in violation of Title 21, United States Code, Sections 841(a)(1) and
                                                 846.




           This criminal complaint is based on these facts:
See attached Affidavit.




           Sl Continued on the attached sheet.



           Reviewed by AUSA/SAUSA:                                                               Comj^ainant s signature

           E USA Carina A. Cuellar                                                    ATF Special Agent, Michael A. Fernald
                                                                                                  Printed name and title


 Sworn to before me and signed in my presence.


 Date:             12/29/2017

                                                                                                              /s/
 City and state:                           Alexandria, VA                                             Ivan D. Davis
                                                                                           United States Magistrate Judge
